     Case 3:24-cv-07191-RFL        Document 16     Filed 02/06/25    Page 1 of 3




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11
                        UNITED STATES DISTRICT COURT FOR THE
12
                          NORTHERN DISTRICT OF CALIFORNIA

13 ASHLEY PARHAM,                             )
                                              )            Case No.: 24-cv-07191 (RFL)
14
                    Plaintiff,                )
                                              )
15
     v.                                       )
                                              )
16                                            )
   SEAN COMBS a/k/a                           )
17
   <P. Diddy,= <Puff Daddy,= <Love,=          )
   <Puffy= and <Diddy,=                       )
   KRISTINA KHORRAM,
18 SHANE PEARCE,
                                              )
                                              )
19 JOHN DOES 1-3 AND                          )
   JANE DOE.                                  )
20

21
                  PLAINTIFF9S UNOPPOSED MOTION TO EXTEND TIME TO
22
                                 COMPLY WITH COURT ORDER
23
           Pursuant to Fed. R. of Civ. Proc. Rule 6(b) Plaintiff respectfully moves this
24
     Court to extend the time to comply with the Court9s January 14, 2025 Order.1
25
           Plaintiff has recently discovered new facts that must be alleged and require
26

27
     1
28       ECF 15

                                 PLAINTIFF9S MOTION TO EXTEND TIME
     Case 3:24-cv-07191-RFL                Document 16          Filed 02/06/25   Page 2 of 3




 1 Plaintiff to amend her complaint. Plaintiff has been investigating these facts for

 2 their veracity and has concluded such amending of its complaint is required in the

 3 interest of justice.
 4         Additionally, the main Defendant in this litigation, Sean Combs a/k/a
 5 <Diddy=, is currently incarcerated in Brooklyn New York,2 where he is awaiting

 6 criminal proceedings against him.3 Due to the rules in New York for serving an
 7 inmate, counsel, as well as other litigants who have litigation against Defendant

 8 Combs, find it difficult to serve Defendant. Counsel has contacted attorneys for

 9 Defendant Combs to discuss waiver but those attorneys never responded to
                     4
10 counsel9s inquiry. Counsel is sure the attorneys it contacted for Defendant

11
     Combs was the correct attorney because the same attorney filed suit against Ms.
     Mitchell on behalf of Defendant Combs.5
12
           In the interest of fairness and justice, Plaintiff seeks an extension of 30 days in
13
     which to amend and refile its complaint and then subsequently serve the
14
     complaint on the Defendants. This motion is unopposed because no Defendant
15
     has been served and there is no one to oppose Plaintiff9s motion.
16
           Plaintiff has not requested an extension of time before and the extension of 30
17
     days will not prevent the litigation from proceeding to a timely resolution as no
18
     Defendants have been served nor will be prejudiced by this brief extension.
19

20 DATE: February 6, 2025                                 /s/ Ariel Mitchell
21                                                        /s/ Shawn Perez
22                                                        ARIEL E. MITCHELL, ESQ.
                                                          SHAWN PEREZ, ESQ
23                                                        ATTORNEYS FOR PLANTIFF
24
     2
25       MDC Brooklyn, Register Number 37452-054
     3
26       New York Southern District, United States v. Combs, 24-cr-542 (AS)
     4
27       Exhibit <A=
     5
28       Exhibit <B=

                                        PLAINTIFF9S MOTION TO EXTEND TIME
     Case 3:24-cv-07191-RFL      Document 16     Filed 02/06/25    Page 3 of 3




 1                                   DECLARATION
 2
        I, Shawn Perez, do declare as follows:
 3
     I have personal knowledge of the facts set forth below and if called as a witness to
 4
     testify, I would and could testify competently thereto.
 5

 6         1.     I make this declaration in support of the MOTION TO EXTEND
 7 TIME.

 8         2.     Currently no Defendant has appeared in this matter or has been
 9 served.
10         3.     The statute of limitations may be an issue as the law Plaintiff is using

11
     to travel under, California9s Sexual Abuse and Cover-Up Accountability Act, ends
     on December 31, 2026.
12
        I declare under the Penalty of Perjury under the laws of the United States and
13
     California that foregoing is true and correct.
14

15
        February 6, 2025                              /s/Shawn Perez, Esq.
16
                                                      Shawn Perez, Esq.
17
                                                      Attorney for Plaintiff
18
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                              PLAINTIFF9S MOTION TO EXTEND TIME
